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                       UNITED STATES DISTRICT COURT
                             DISTRICT OF HAWAII
  U.S. EQUAL EMPLOYMENT          )       Civ. No. 17-00482 ACK-RT
                                 )
  OPPORTUNITY COMMISSION,        )
                                 )       FINDINGS AND
             Plaintiff,          )       RECOMMENDATION TO GRANT
                                 )
         v.                      )       PLAINTIFF’S MOTION FOR
                                 )       DEFAULT JUDGMENT AGAINST
                                 )
  PACIFIC FUN ENTERPRISES LLC )          DEFENDANT PACIFIC FUN
  d/b/a SNAPPERS SPORTS BAR AND )        ENTERPRISES LLC
                                 )
  GRILL, d/b/a SNAP-ETTE BEACH   )
  AND LIQUOR STORE, and Does 1-5 )       The Honorable Rom Trader
  Inclusive,                     )       United States Magistrate Judge
                                 )
              Defendants.        )
                                 )
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                   FINDINGS AND RECOMMENDATION TO GRANT
                  PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT
                AGAINST DEFENDANT PACIFIC FUN ENTERPRISES LLC

        Plaintiff United States Equal Employment Opportunity Commission’s

  (“EEOC”) Motion for Default Judgment (ECF No. 14) came on for hearing on

  November 15, 2018 at 9:30 a.m. before the Honorable Kevin S.C. Chang.

  Attorneys Eric Yau, Esq. and Rumduol Vuong, Esq. appeared on behalf of

  Plaintiff. The Defendant Pacific Fun Enterprises LLC, d/b/a Snappers Sports Bar

  and Grill, d/b/a Snap-pette Beach and Liquor Store (“Defendant” or “Snappers”)

  made no opposition, objection, appearance, or other communications. The Court,

  noting that default was entered previously, and after reviewing the written

  submissions, the records and files in this case, and the applicable law, FINDS and

  RECOMMENDS that Plaintiff’s Motion be GRANTED for the reasons stated on

  the record and as stated below.

                              I. PROCEDURAL HISTORY

        On September 26, 2017, the EEOC filed its original complaint, alleging

  violations of Title VII of the Civil Rights Act of 1964, as amended, and Title I of

  the Civil Rights Act of 1991. (Pl.’s Compl., ECF No. 1). EEOC’s Complaint

  alleged that Defendant engaged in unlawful discrimination when it subjected

  Charging Party, Jessica Root, and a class of similarly aggrieved female employees

  (“Claimants”) to unwelcome physical and verbal sexual conduct which was

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  sufficiently severe or pervasive to adversely affect the terms and conditions of their

  employment and create a hostile work environment. Id. at ¶¶ 15-17. The EEOC

  further alleged that this hostile work environment became intolerable and caused

  many of the Claimants to be constructively discharged. Further, Snappers

  subjected Claimants to unlawful retaliation when it reduced their work shifts,

  subjected them to unfavorable terms and conditions of employment, and/or

  terminated their employment for engaging in statutorily protected activities. Id.

        On October 16, 2017, Mr. Darin Leong, Esq., of Marr Jones and Wang LLP,

  returned a waiver of service of summons on behalf of Snappers. (Waiver of

  Service of Summons, ECF No. 7-1). Snappers failed to file an answer or a motion

  under Rule 12 of Fed. R. Civ. P. by the deadline of December 5, 2017. (Pl.’s Mot.

  for Entry of Default, ECF No. 10). The Clerk of this Court entered the default on

  January 22, 2018. (Entry of Default, ECF No. 12). On September 27, 2018, the

  EEOC filed the instant Motion for Default Judgment. (Mot. for Default J., ECF

  No. 14). Snappers was served with a copy of the Motion for Default Judgment, but

  did not file an opposition or otherwise respond to the Motion. (Certificate of

  Service for Mot. for Default J., ECF No. 14-10).




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                                 II. RELEVANT FACTS

  A.    Background of Snappers

        1.     Snappers was a Honolulu sports bar and grill providing alcoholic and

  non-alcoholic beverages and food to customers. (Def.’s Resp. to EEOC’s Req. for

  Information, ECF No. 14-3).

        2.     Snappers was owned and operated by Michael Wenzel and wife

  Colleen Wenzel. Id. There were approximately 20 – 25 employees. (Decl. of

  Jessica Root at ¶ 4, ECF No. 14-4; Decl. of Nicole Garrett at ¶ 4, ECF No. 14-5;

  Decl. of Michele Edwards at ¶ 5, ECF No. 14-6; Decl. of Adrienne Akin at ¶ 5,

  ECF No. 14-7).

  B.    Owner Michael Wenzel Sexually Harassed Female Workers

        3.     Michael Wenzel was involved in the day to day operations of

  Snappers and was responsible for setting the servers’ schedules, telling servers

  which customers to serve, and handling employee complaints, discipline, hiring

  and termination. (Decl. of Jessica Root at ¶¶ 2, 4, ECF No. 14-4; Decl. of Nicole

  Garrett at ¶ 3, ECF No. 14-5; Decl. of Michele Edwards at ¶¶ 7-8, ECF No. 14-6;

  Decl. of Adrienne Akin at ¶¶ 4,7, ECF No. 14-7).

        4.     Ms. Root began working as a wait staff/server at Snappers in

  December 2010 and was responsible for greeting customers, taking and delivering




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  food and beverage orders, bussing, cleaning and closing the bar. (Decl. of Jessica

  Root at ¶¶ 2-3, ECF No. 14-4).

        5.     Michael Wenzel’s sexist, derogatory, degrading and offensive name-

  calling occurred both during and after work hours several times a month

  throughout Ms. Root’s four (4) years of employment at Snappers. Id.

        6.     Since at least 2011, Michael Wenzel regularly made inappropriate

  comments of a sexual nature to Jessica Root.

        7.     Beginning on or around February 2011, Michael Wenzel sexually

  harassed Ms. Root when he called her a “slut” and “whore.” Id. at ¶ 6.

        8.     Michael Wenzel would occasionally comment on how big Ms. Root’s

  buttocks were. Id.

        9.     He has told Ms. Root that he had a dream the night before of Ms. Root

  having sex. Id.

        10.    He has also once told Ms. Root that he and Colleen Wenzel just got

  done having sex on a boat, and that he realized the sandwich was between them

  when he got hungry. Id. Michael Wenzel merely laughed and walked off when Ms.

  Root asked him not to tell her those things. Id.

        11.    Ms. Root complained to Michael Wenzel almost on a monthly basis.

  She told him that she did not appreciate the name-calling and his conduct, and that




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  his comments were inaccurate. Michael Wenzel never apologized and would just

  shrug off and turn away. Id. at ¶ 7.

        12.    Michael Wenzel regularly made sexual comments about other female

  workers and patrons to Ms. Root. Id. at ¶ 8.

        13.    Ms. Root recalls a time when she went to the Irish Rose Saloon where

  Michael Wenzel and Kitchen Manager Ms. Ashley Harris were seated. Id. at ¶ 9.

  Michael Wenzel spoke of his sexual fantasies about Ms. Harris, the size of her

  breasts and buttocks, including how he wanted to “do” her by “wrapping her legs

  around him and fuck the shit out of her.” Id. Offended and uncomfortable, Ms.

  Root immediately told Michael Wenzel he could not be saying such things about

  Ms. Harris and women in general because it was illegal. Id. Michael Wenzel

  simply smirked with invincibility. Id.

        14.    On or about September 2013, Michael Wenzel ripped off Ms. Root’s

  bikini top at a work event at the bar in front of at least 50 patrons. Id. at ¶ 11.

        15.    Michael Wenzel also harassed other female workers.

        16.    Michele Edwards worked as a server at Snappers in August 2015.

  (Decl. of Michele Edwards at ¶ 2, ECF No. 14-6). She directly worked with

  Michael Wenzel three or four times per week. Id. at ¶ 9.

        17.    Michael Wenzel would tell Ms. Edwards that her shorts were not short

  enough and that her shirts were not cut enough to reveal skin, almost on a daily

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  basis. Id. He would tell Ms. Edwards that he had scissors in the back office and he

  could help cut her shirts. Id.

        18.    Ms. Edwards felt embarrassed and scared because there was nobody

  else in the back office and there were no cameras there. Id.

        19.    On a weekly basis, Michael Wenzel also told Ms. Edwards that she

  would receive better tips and shifts if she dressed more provocatively and flirted

  with his friends. Id. at ¶ 16. He would say things like “wear shorter shorts, that is

  the only way you can make more tips.” He threatened that if Ms. Edwards did not

  dress in a certain way or flirt with customers, she would not get the shifts that she

  wanted. Id. Ms. Edwards complied by wearing shirts that were cut. Id.

        20.    Michael Wenzel would also regularly tell other servers, including

  Nicole Garrett, to wear shorter shorts and flirt with customers to receive higher

  tips. He would exclaim that “the breasts are out” in front of patrons, almost on a

  daily basis. Id. at ¶ 10; (Decl. of Nicole Garrett at ¶ 6, ECF No. 14-5).

        21.    Michael Wenzel would also inappropriately touch Ms. Edwards and

  would make inappropriate comments of a sexual nature. (Decl. of Michele

  Edwards at ¶ 11, ECF No. 14-6).

        22.     Ms. Edwards recalls a time when Michael Wenzel asked her to talk to

  him in the back office. Id. He talked really close to her face and put his hand

  around her waist. Id.

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        23.    Michel Wenzel would regularly put his hand on Ms. Edwards’ lower

  back and spoke uncomfortably close to her face, almost on a weekly basis. Id. at ¶

  12. While doing so, he would say things like “This is Hawaii, it’s okay for me to

  kiss you and touch your back, I am just friendly,” and “I like to kiss your cheeks.”

  Id. Michael Wenzel would do this at the restaurant within view of customers and

  Ms. Edwards’ coworkers, which made her feel very embarrassed. Id.

        24.    Michael Wenzel acted flirtatious when his wife was not around or

  when he was drinking and would call Ms. Edwards “baby” or “honey” and even

  said “Honey, just come into the back office for a bit, I can make it to you.” Id.

        25.    On or about March 2016, Ms. Edwards wore sparkly eye shadow and

  Michael Wenzel told her that “maybe you could make more money if you were a

  stripper because that’s the only thing you have going for you.” Id. at ¶ 15.

        26.    When Ms. Edwards complained to Michael Wenzel about his

  behavior 2-3 months before her termination, he merely continued with the

  harassment and she eventually lost most of her shifts. Id. at ¶ 18.

        27.    Michael Wenzel also reached into Ms. Adrienne Akin’s skirt and

  inappropriately touched her on or around the end of February 2016, at a St.

  Patrick’s Day event at work. (Decl. of Adrienne Akin at ¶ 9, ECF No. 14-7).




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  C.    Owner Michael Wenzel Tolerated Sexual Harassment of Female Workers by
        His Friends and Patrons

        28.    In addition to sexually harassing female workers himself, Michael

  Wenzel readily enabled his friends and patrons to sexually harass female workers

  and refused to address sexual harassment when his workers complained. (Decl. of

  Michele Edwards at ¶ 13, ECF No. 14-6).

        29.    On weekly pool nights, Ms. Edwards complained to Michael Wenzel

  that customers were touching her and he told her to deal with it on her own. Id.

  Michael Wenzel even admonished her for complaining by saying “don’t tell me

  what the customer said or did to you; I don’t care you handle it.” Id.

        30.    On one occasion, Michael Wenzel’s friend grabbed Ms. Edwards

  aggressively in front of Michael Wenzel, and he merely laughed. Id.

        31.     In September or October of 2015, Michael Wenzel’s friend was

  speaking rudely to Ms. Edwards and when she tried to walk away, that friend

  grabbed Ms. Edwards’ buttocks, pulled her closer to him, grabbed her breast, pet

  her hair, and then hit her buttocks again as she left his grasp. Id. at ¶ 14.

        32.     Michael Wenzel saw this occur but continued to drink with his

  friends instead of intervening. This interaction made Ms. Edwards feel very

  embarrassed and uneasy. Id.

        33.    Ms. Garrett experienced similar inaction when she complained of

  harassment to Michael Wenzel. (Decl. of Nicole Garrett at ¶ 8, ECF No. 14-5).
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  While working at Snappers, Ms. Garrett was propositioned for sex and harassed by

  patrons on a daily basis. Id. Both Michael Wenzel and Colleen Wenzel were aware

  of this, but would laugh about it. Id.

        34.     When a customer offered Ms. Garrett money to act in a pornographic

  film, Michael Wenzel laughed after she complained to him. Id.

        35.    When a patron hugged Ms. Garrett after paying his bill, the patron

  groped Ms. Garrett’s buttocks. Id. When Ms. Garrett spoke to Michael Wenzel

  about how offended she was, Michael Wenzel simply rolled his eyes and said

  “What am I supposed to do about it?” Id.

  D.    Supervisor Troy Wenzel Sexually Harassed Female Worker

        36.    Troy Wenzel, Michael Wenzel’s son, was as a Supervisor at Snappers

  and sexually harassed a female worker on a regular basis. (Decl. of Nicole Garrett

  at ¶ 3, ECF No. 14-5).

        37.    Troy Wenzel would always stand in the doorway close to where the

  servers would drop off dirty dishes and made them maneuver sideways around him

  to drop off the dishes. Id. This gave him the opportunity to stare at them longer.

  Id.

        38.    In addition, Troy Wenzel frequently made comments that made Ms.

  Garrett feel very embarrassed and uncomfortable. Id. at ¶ 10. Further, Troy Wenzel




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  stared or leered at Ms. Garrett on a weekly basis. Id. This made Ms. Garret feel

  uneasy, uncomfortable, and gross. Id.

        39.    Troy Wenzel made comments about Ms. Garrett’s breasts (and about

  breasts in general) and on the appearance of other servers, and asked about her

  sexual experiences, almost on a daily basis. Id. Ms. Garrett was further

  embarrassed because he said them around other servers and cooks. Id.

        40.    Troy Wenzel once engaged in a conversation with a cook comparing

  the breast size of two servers and asked for Ms. Garrett’s opinion. Id.

        41.    Ms. Garrett consistently told Troy Wenzel his comments about her

  breasts and the appearance of other servers were inappropriate and that he needed

  to stop but he just simply continued. Id. at ¶ 11.

  E.    Snappers Retaliated Against Employees for Complaints Against Michael
        Wenzel

        42.    Snappers routinely retaliated against employees who complained

  about the sexual harassment by giving them fewer shifts or terminating them

  outright.

        43.    On or around February 28, 2015, Michael Wenzel had been drinking

  at work. He was harassing and abusing Ms. Root, including yelling at her. (Decl.

  of Jessica Root at ¶ 12, ECF No. 14-4).

        44.    Michael Wenzel then falsely accused Ms. Root of calling his daughter

  a “whore.” Id.
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        45.   Michael Wenzel stated that Ms. Root was “done.” Id.

        46.   Ms. Root was offended and distressed over hearing the derogatory and

  sexist comments and asked Michael Wenzel not to utter these things in the work

  place. Id

        47.    In retaliation against Ms. Root for opposing the discrimination and

  harassment, Michael Wenzel responded: "I'm cleaning house," which meant that

  he was terminating Ms. Root’s employment. Id.

        48.   At approximately 4:00 a.m. on March 1, 2015, Ms. Root received a

  text message and email from Snappers’ online scheduling system, Schedulefly, that

  she had been removed from her shifts for the following week. She later received

  notice of her termination via email from Michael Wenzel. Id.

        49.   Similarly, in response to Ms. Edwards’ complaints to Michael Wenzel

  about his inappropriate sexual harassment, Snappers ceased contacting Ms.

  Edwards about her schedules 2-3 months later, effectively ending her employment.

  (Decl. of Michele Edwards at ¶¶ 18-20, ECF No. 14-6).

        50.   Moreover, Michael Wenzel would cut shifts when female workers

  complained about being forced to wear cut up shirts and short shorts. On one

  occasion, when Ms. Garrett wore a shirt to work that was not cut up because she

  felt uncomfortable exposing too much skin, her hours were reduced the following

  week. (Decl. of Nicole Garrett at ¶ 6, ECF No. 14-5).

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        51.    Ms. Garrett later got better shifts when she wore cut shirts. Id.

  F.    Female Workers Were Constructively Discharged When They Could No
        Longer Tolerate the Sexual Harassment

        52.    Ms. Garrett left employment in November 2016 after she could no

  longer tolerate the indifference that Michael Wenzel had when she complained

  about how the patrons behaved, and how he would always ask her to wear

  revealing shirts. (Decl. of Nicole Garrett at ¶ 12, ECF No. 14-5).

        53.    Ms. Garrett could no longer tolerate Troy Wenzel’s frequent

  references to her breasts and his leering at her body parts. Troy Wetzel’s

  harassment made it difficult to go to work. Id.

        54.    Similarly, Ms. Akin left Snappers as soon as she discovered that

  Michael Wenzel had reached into her skirt and touched her inappropriately. (Decl.

  of Adrienne Akin at ¶ 10, ECF No. 14-7).

  G.    All Claimants Experienced Pain and Suffering from Snappers’ Inaction Over
        Sexual Harassment and Subsequent Retaliation

               i. Jessica Root

        55.    Despite suffering from the abusive work environment, the cost of

  living and maintaining two jobs in Hawaii prevented Ms. Root from obtaining

  counseling because it was expensive, even though she believed that counseling or

  treatment would have helped tremendously in coping with the humiliation and

  emotional distress. (Decl. of Jessica Root at ¶ 16, ECF No. 14-4).

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        56.    Ms. Root found it difficult to share and discuss with friends and

  family her experiences of discrimination, harassment and retaliation at Snappers,

  because she was embarrassed and ashamed of the situation. Id.

        57.     In addition, Ms. Root did not date much while employed at Snappers

  and shortly thereafter, so she did not have many relationships. Id. at ¶ 17.

        58.     Ms. Root avoided dating because of the way that Michael Wenzel

  mistreated her. She felt as though she should not be dating because she was

  constantly being portrayed as a slut by Michael Wenzel. Id. While his statements

  were false, Ms. Root felt they were enough to hurt her self-esteem and any hopes

  of a serious relationship in the future. Id.

        59.    The longer Ms. Root worked, the more she loathed her job. Id.

        60.    However, because of the high cost of living in Hawaii and the limited

  job openings, it was necessary for Ms. Root to continue working at Snappers, her

  second job, in order to afford her rent and survive until she could find another

  position with similar hours. Id.

        61.    Every day at Snappers was intolerable as Ms. Root was subjected to

  discrimination and harassment at any given moment. Id. Ms. Root knew that she

  was seen as a "slut" or a "whore" because that was how Michael Wenzel talked

  about her to his family and other staff and patrons. Id.




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         62.    Michael Wenzel’s harassment resulted in relationship issues with her

  boyfriend because he was exposed to those lies. Id. Ms. Root experienced great

  anxiety not only while employed but after being fired by losing sleep over her

  ordeal at Snappers. Id. at ¶ 18. Ms. Root has had recurring nightmares and her

  emotional distress is due in part to having to revisit the ordeal by participating in

  the EEOC suit. Id.

         63.    At the time, Ms. Root was not fully aware of the extensive emotional

  damage and harm that Michael Wenzel had inflicted upon her. Id.

         64.    The level of anxiety that Ms. Root experiences leads her to believe

  that the emotional damage and harm is permanent or will remain with her

  indefinitely. Id.

                  ii. Nicole Garrett

         65.    Ms. Garrett experienced sleeplessness, anxiety, stress, depression,

  humiliation, loss of self-esteem, and fatigue because of her experience at Snappers.

  (Decl. of Nicole Garrett at ¶ 13, ECF No. 14-5). She surfed less over time and

  wanted to hide her body. Id.

         66.    When Ms. Garrett stopped getting the premium shifts, she had to

  tolerate more unwelcome advances in order to make more tips to afford living in

  Hawaii, which also caused her a lot of stress. Id.

         67.    Ms. Garrett’s employment took a toll on her emotionally. Id.

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        68.    Although some of the symptoms have become less severe over time,

  Ms. Garrett needs to see a therapist to treat depression and anxiety which was due

  in part to how she felt stuck at Snappers because she needed the income. Id.

        69.    Ms. Garrett was so rattled that she needed to reset her brain after she

  left. Thus, she took a job at a preschool to feel better about herself. Id. at ¶ 14.

        iii.   Michele Edwards

        70.    Ms. Edwards’ employment at Snappers caused her great stress and

  anxiety. (Decl. of Michele Edwards at ¶ 21, ECF No. 14-6). At home, she would

  experience anxiety attacks when she has flashbacks of how Michael Wenzel would

  touch her, and how patrons sexually harassed her. Id.

        71.     Ms. Edwards’ employment at Snappers harmed her personal

  relationships as she broke up with her long-term boyfriend because he wanted her

  to quit. He disapproved of the cut up shirts and shorts she wore to work. Id.

        72.    Ms. Edwards felt guilty for wearing provocative clothing at work.

  Her guilt caused her to have insomnia and anxiety attacks. Id.

        73.    Ms. Edwards also experienced regular sleeplessness, humiliation,

  emotional distress and loss of self-esteem. Id. at ¶ 22. The sleepless nights became

  a widespread occurrence, almost every time she worked at nights. Id.

        74.    Due to the sleeplessness, Ms. Edwards’ academic career took a toll.

  She was unable to focus in class and eventually lost passion for her studies. Id.

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        75.    Ms. Edwards regularly felt that she did not have a way out of the mess

  that she put herself in and felt she could not express her concerns to anyone due to

  the shame and humiliation. Id. She felt an overwhelming sense of guilt and shame

  for allowing the treatment to happen. Id. She started to believe that it was all her

  fault, that she should not have dressed provocatively or allowed Michael Wenzel

  and the patrons to touch and talk to her that way. Id.

        76.    Ms. Edwards eventually developed an eating disorder. Id. at ¶ 23. She

  ate a lot of the fried and fatty food and gained twenty pounds, which was a far cry

  from when she was eating healthy foods and was active in hiking, playing

  volleyball and going to the gym. Id. at ¶ 23.

        77.    Ms. Edwards began seeing a therapist because she could not work

  through the stress and anxiety on her own. Id. at ¶ 24.

        78.    As this was her first job, Ms. Edwards assumed that this type of

  workplace environment was normal. She thought she needed to please men in

  order to be successful. Id.

                iv.   Adrienne Akin

        79.    Ms. Akin experienced sleeplessness, anxiety, stress, depression,

  humiliation, loss of self-esteem, and fatigue because of Michael Wenzel’s

  offensive touching. (Decl. of Adrienne Akin at ¶ 12, ECF No. 14-7).




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        80.     The traumatic experience ruined her interest in bartending. Id. Ever

  since Ms. Akin left Snappers, she has never been able to hold a bartending job

  because it reminds her of what Michael Wenzel did. Id. She can no longer trust the

  people she works with. Id.

        81.    Ms. Akin noted that she is not the same person. She works a lot to

  deal with the emotional distress from what Michael Wenzel did to her. Id.

        82.    Ms. Akin’s employment at Snappers took a toll on her emotionally.

  She needed to reset her brain after she left, so she left Hawaii in or around July

  2016 to return to Tennessee, but she is still emotionally affected. Id. at ¶ 13.

        83.     Initially, Ms. Akin did not realize how much it affected her, but when

  she lost interest in bartending and stopped doing things that she used to love doing

  (going out, drinking, and meeting up with friends), she began to see how Michael

  Wenzel’s offensive touching has affected her. Id.

        84.    The incident makes Ms. Akin think less of herself because she feels

  she could have done something different to avoid giving Michael Wenzel the

  chance to touch her inappropriately. Id.

        85.    Ms. Akin does not go out anymore because she does not want to be in

  a situation like that ever again. She believes that not going out altogether is one

  way of eliminating the possibility of the re-occurrence of Michael Wenzel’s

  inappropriate touching in any context. Id.

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                                      III. DISCUSSION
  A.    Legal Standard
        1.       Pursuant to Rule 55(a) of Fed. R. Civ. P., a party may seek default

  when “a party against whom a judgment for affirmative relief is sought has failed

  to plead or otherwise defend.”

        2.       A district court has discretion to grant a party’s motion for default

  judgment. Aldabe v. Aldabe, 616 F.2d 1089, 1092 (9th Cir. 1980). In Eitel v.

  McCool, 782 F.2d 1470, 1471-72 (9th Cir. 1986), the Ninth Circuit noted a court

  may consider the following seven factors in exercising its discretion on whether to

  grant a motion for default: “(1) the possibility of prejudice to the plaintiff; (2) the

  merits of plaintiff’s substantive claim; (3) the sufficiency of the complaint; (4) the

  sum of money at stake in the action; (5) the possibility of a dispute concerning

  material facts; (6) whether the default was due to excusable neglect; and (7) the

  strong policy underlying Federal Rules of Civil Procedure favoring decisions on

  the merits.”

        3.       In considering a motion for default judgment, “[t]he general rule of

  law is that upon default the factual allegations of the complaint, except those

  relating to the amount of damages, will be taken as true.” TeleVideo Sys., Inc. v.

  Heidenthal, 826 F.2d 915, 917-18 (9th Cir. 1987); see also Geddes v. United Fin.

  Group, 559 F.2d 557, 560 (9th Cir. 1977) (holding that as factual allegations are



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  accepted as true, default therefore establishes liability, leaving open only the issue

  of damages).

  B.      The Eitel Factors Favor Entry of Default Judgment

       1. The Possibility of Prejudice to the Plaintiff Favors Default Judgment

          4.    EEOC and Claimants will be prejudiced if default judgment is not

  entered against Snappers. Here, Snappers failed to answer. Thus, the Claimants

  “will [ ] be without recourse for recovery” and left without a remedy unless the

  Court grants the motion for default judgment. PepsiCo, Inc. v. Cal. Security Cans,

  238 F.Supp.2d 1172, 1177 (C.D. Cal. 2002). E.E.O.C. v. Trimbo, Inc., No. 06–

  6141 PVT, 2009 WL 733888, at *3 (N.D. Cal. Mar. 17, 2009).

       2. The Merits of Plaintiff’s Claims and the Sufficiency of the Complaint Favor
          Default Judgment

          5.    The second and third Eitel factors, the merits of the substantive claims

  and the sufficiency of the complaint, weigh in favor of the Court’s entry of default

  judgment. These two factors require that the EEOC “state a claim on which the

  [plaintiff] may recover.” PepsiCo, Inc., 238 F. Supp. 2d at 1175. Indeed, the

  Complaint establishes the EEOC’s claims in sufficient detail and provides clear

  support for those claims. Thus, these two factors have been met.




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             a. Complaint Sufficiently Pled Liability for Hostile Work Environment
                Claim

        6.      As stated by the Ninth Circuit in EEOC v. Prospect Airport Servs.,

  621 F.3d 991, 997-9 (9th Cir. 2010), a prima facie case of hostile work

  environment requires a plaintiff need only establish that the harassment was: 1)

  based on sex; 2) unwelcome; 3) sufficiently severe or pervasive; and 4) that the

  employer is liable for the harassment.

        7.      In the instant action, the Complaint sufficiently alleged that Owner

  Michael Wenzel subjected Ms. Root to regular and repeated sexual harassment

  when he called her a “slut” and “whore”, ripped her bikini top in front of patrons,

  told Charging Party that he had dreams about Charging Party having sex, told her

  about sex acts with others, made lewd and degrading comments of a sexual nature

  about other female employees’ breasts and buttocks. (Pl.’s Compl. at ¶ 15a, ECF

  No. 1). The harassment was not confined to Ms. Root, for the Complaint further

  alleged that Michael Wenzel told a female employee that he fantasized having sex

  with her, tried to kiss the employee, and required female employees to wear cut up

  shirts and shorter shorts to reveal more “skin.” Id. at ¶ 15b. The Complaint also

  alleged that other management officials and patrons subjected female employees to

  similar harassment including making frequent sexual comments; unwanted

  touching of female employees’ arms, breasts, and buttocks; and leering and

  brushing against women’s bodies. Id.
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        8.     The Complaint further contains sufficient allegations for the Court to

  find that the comments and conduct by Michael Wenzel, Troy Wenzel and

  Snappers patrons were unwelcome. Specifically, Ms. Root objected to the

  comments and complained to Michael Wenzel about how the sexual harassment

  offended, distressed and humiliated her. Id. at ¶ 15a. The Complaint alleged that

  the Claimants were offended by the sexually offensive and egregious conduct and

  reported the repeated sexual harassment to Michael Wenzel who simply shrugged

  it off and told the Claimants to “handle it on [her] own.” Id. at ¶ 15c.

        9.     The factual allegations in the Complaint establish that Michael

  Wenzel, Troy Wenzel, and Snappers’ patrons’ conduct was pervasive. They

  occurred on numerous instances, almost on a daily basis. Id. at ¶ 15d.

        10.    Lastly, the Complaint contains sufficient factual allegations that

  Snappers is liable for the hostile work environment as an employer. In Ellerth, the

  Supreme Court stated that if the harasser is a supervisor with immediate authority

  over the employee, the employer is presumptively liable. Burlington Indus., Inc. v.

  Ellerth, 524 U.S. 742, 765 (1998). Indeed, where the harasser is of a sufficiently

  high rank to be the employer’s proxy, the employer is vicariously liable for the

  harassment. Id. at 758.

        11.    Here, the Complaint alleged that Snappers’ owner, director, agent

  and/or alter ego Michael Wenzel subjected Ms. Root and other female workers to

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  and was involved in the sexual harassment and failed to take reasonable steps to

  stop the sexual harassment when the workers complained. (Pl.’s Compl. at ¶ 15a-b,

  ECF No. 1).

        12.     The Court finds that the Complaint sets forth a prima facie claim for

  sexual harassment on the part of Defendant’s owner and management.

        b.      Complaint Sufficiently Pled Liability for Retaliation Claim

        13.     Under section 704(a) of Title VII, it is an unlawful employment

  practice for an employer to retaliate against an employee for opposing or

  complaining of an unlawful employment practice, or assisting in another’s

  opposition or complaint. “To make out a prima facie case of retaliation, an

  employee must show that (1) [s]he engaged in a protected activity (2)

  [her]employer subjected [her] to an adverse employment action; and (3) a causal

  link exists between the protected activity and the adverse action.” Ray v.

  Henderson, 217 F.3d 1234, 1240 (9th Cir. 2000).

        14.     A plaintiff pursuing a retaliation claim must still prove that the

  plaintiff’s participation in the protected activity was the but for cause of the

  adverse action. See Univ. of Texas Sw. Med. Ctr. v. Nassar, 570 U.S. 338, 359-361

  (2013).

        15.     “[A]n employer’s retaliatory conduct in response to an employee’s

  complaint of sexual harassment, a protected activity, is actionable under Title VII’s

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  antiretaliation provisions.” Davenport v. Bd. of Trs. of State Ctr. Cmty. Coll. Dist.,

  654 F. Supp. 2d 1073, 1087 (E.D. Cal. 2009); see also Elvig v. Calvin Presbyterian

  Church, 375 F.3d 951, 965 (9th Cir. 2004).

        16.      Here, the Complaint alleges sufficient facts showing that the female

  workers engaged in protected activities when they opposed the unlawful sexual

  harassment by complaining and requesting that they be stopped. (Pl.’s Compl. at ¶

  16, ECF No. 1). Snappers subjected them to an adverse employment action when it

  reduced the their shifts and/or terminated their employment. Id.

              c. Complaint Sufficiently Pled Liability for Constructive Discharge

        17.      Constructive discharge occurs when working conditions deteriorate

  because of discrimination to the point where it becomes sufficiently egregious and

  extraordinary to overcome the normal motivation of a competent, diligent, and

  reasonable employee to remain on the job and to serve his or employer. Poland v.

  Chertoff, 494 F.3d 1174, 1184 (9th Cir. 2007) (quoting Penn. State Police v.

  Suders, 542 U.S. 129, 142 (2004)).

        18.      The Complaint sufficiently alleged the Claimants were constructively

  discharged when they resigned because of the intolerable working conditions

  created by the hostile work environment. Snappers knew or should have known

  about the harassment. Michael Wenzel and other management witnessed the




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  harassment, engaged in it, and Ms. Root and other Claimants complained, but

  Snappers failed to take remedial action. (Pl.’s Compl. at ¶ 15e, ECF No. 14).

        19.    In sum, the Complaint sufficiently pled that Snappers is vicariously

  liable for the sexual harassment that Michael Wenzel and Troy Wenzel inflicted on

  the Claimants, and for failing to take effective remedial action when the Claimants

  complained about sexual harassment by the bar’s patrons.

        20.     The Complaint and evidence further show that the claim for

  harassment, retaliation and/or constructive discharge have merit. Thus, both of

  these Eitel factors are satisfied and weigh in favor of default judgment.

     3. The Sum of Money at Stake Favors Default Judgment

        21.     “Since the district court has “wide discretion in determining the

  amount of statutory damages to be awarded,” the amount of money requested does

  not weigh against the entry of default judgment.” Sennheiser Elec. Corp. v.

  Eichler, No. CV12-10809 MMM(PLAx), 2013 WL 3811775 at *5 (C.D. Cal. Jul.

  19, 2013); see also Phillip Morris USA, Inc. v. Castworld Products, Inc., 219

  F.R.D. 494, 500 (C.D. Cal. 2003) (finding that amount at stake weighed in favor of

  default judgment as $2,000,000 in statutory damages was warranted).

     4. There is Little Possibility of Dispute Concerning the Material Facts which
        Favors Default Judgment

        22.    The fifth Eitel factor considers the possibility of dispute as to any

  material facts in the case. “Upon entry of default, all well-pleaded facts in the
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  complaint are taken as true, except those relating to damages.” See Televideo Sys.,

  826 F.2d at 917-18. Here, there is no dispute as to the material facts as the facts in

  the complaint are taken as true, and the complaint sufficiently pleads harassment,

  retaliation and/or constructive discharge against Snappers.

        5.     Default Was Not the Result of Excusable Neglect

        23.    There is no evidence that would support the argument that Snappers’

  failure to defend this action was from excusable neglect. Snappers was properly

  served with complaint, notice of the lawsuit, and motion for entry of default. (Decl.

  of Trial Attorney Eric Yau at ¶ 8, ECF No. 14-2).

        24.    Given this fact and the fact that Snappers did not appear, there is little

  likelihood that its failure to appear is the result of excusable neglect. See ESET,

  LLC v. Bradshaw, No. 10–CV–1369 JLS (JMA), 2011 WL 2680497, at *2 (S.D.

  Cal. Jul. 8, 2011); Virgin Records Am., Inc. v. Cantos, Civil No. 06cv915-L(CAB),

  2008 WL 2326306, at *3 (S.D. Cal. June 3, 2008) (concluding that there was no

  potential that defendant’s default was due to excusable neglect when defendant

  was served with notice of complaint and application for default judgment).

  Consequently, this factor favors the entry of default judgment.

     6. The Policy Favoring Decisions on the Merits Does Not Outweigh Factors
        Favoring Default Judgment

        25.    The last Eitel factor, favoring deciding a case upon the merits, does

  not rigidly require a decision on the merits when the defaulting party’s own
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  behavior prevents such a decision. See ESET, 2011 WL 2680497, at *2, *3 (citing

  Rio Props, Inc., v. Rio Int’l Interlink, 284 F. 3d 1007, 1022 (9th Cir. 2002))

  (public policy favoring disposition of cases on their merits is not enough to

  preclude the imposition of default judgment). Defendant’s failure to answer the

  “Complaint makes a decision on the merits impractical, if not impossible.” Id. at

  *3 (citing Pepsi Co., Inc., 238 F. Supp. 2d at 1177). Here, Snappers failed to file an

  answer. This made a decision on the merits impossible.

        C.       Damages

        26.      The EEOC is statutorily authorized pursuant to Title VII of the Civil

  Rights Act to seek back pay, compensatory and punitive damages. See 42 U.S.C.

  §1981a(a)(1). An award of compensatory and punitive damages is warranted as the

  Claimants experienced pain and suffering resulting from the harassment, retaliation

  and/or constructive discharge that was perpetrated by Snappers through Michael

  Wenzel and Troy Wenzel. An award of back pay is also an appropriate remedy to

  make Claimants whole for damages they incurred after their unlawful termination

  from Snappers.

              1. Back Pay with Prejudgment Interest

        27.      An award of back pay is appropriate to advance “Congress’ intent to

  make ‘persons whole for injuries suffered through past discrimination’” Price v.

  Stevedoring Servs. of Am., Inc., 697 F.3d 820, 837 (9th Cir. 2012) (citing Caudle

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  Bristow Optical Co., 224 F.3d 1014, 1020 (9th Cir. 2000), as amended on denial of

  reh’g (Nov. 2. 2000)).

        28.   “Back pay is calculated by subtracting the actual wages a discharged

  employee earned subsequent to termination from the amount the employee would

  have earned absent the employer’s discriminatory conduct.” E.E.O.C. v. Sunfire

  Glass, Inc., No. CV–08–1784–PHX–LOA, 2009 WL 976495, at *11 (D. Ariz. Apr.

  10, 2009) (citing Gotthardt v. Nat’l R.R. Passenger Corp., 191 F.3d 1148, 1158

  (9th Cir. 1999); Edwards v. Occidental Chem. Corp., 892 F.2d 1442, 1449 (9th

  Cir. 1990) and Sias v. City Demonstration Agency, 588 F.2d 692, 696 (9th Cir.

  1978)).

        29.   Back pay is not subject to the statutory caps on compensatory and

  punitive damages. Lutz v. Glendale Union High Sch., 403 F.3d 1061, 1068-69 (9th

  Cir. 2005); 42 U.S.C. §1981a(b)(2).

        30.   Instead, back pay remains an equitable remedy to be awarded by the

  district court in its discretion. See Albermarle Paper Co. v. Moody, 422 U.S. 405,

  415-16 (1975); Lutz, 403 F.3d at 1069.

        31.   Back pay awards are to be calculated “from the date of the

  discriminatory act until the date of the final judgment.” Kraszweski v. State Farm

  Gen. Ins. Co.,912 F.2d 1182, 1184 (9th Cir. 1990).




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        32.      An award of “prejudgment interest on back pay award is appropriate.”

  Domingo v. New England Fish Co., 727 F.2d 1429, 1446 (9th Cir. 1984); see

  United States v. Bell, 602 F.3d 1074, 1084 (9th Cir. 2010), as amended by 734

  F.3d 1223 (9th Cir. 2013) (noting that “a monetary award does not fully

  compensate for an injury unless it includes an interest component”).

        33.      Upon review of the Declaration of Jessica Root, the Court finds that a

  back pay award of $11,100, plus prejudgment interest of $1,087.86, are reasonable.

        34.      Upon review of the Declaration of Nicole Garrett, the Court finds that

  a back pay award of $13,170, plus prejudgment interest of $709.66, are reasonable.

        35.      Upon review of the Declaration of Michelle Edwards, the Court finds

  that a back pay award of $23,960, plus prejudgment interest of $1,608.22, are

  reasonable.

        36.      Upon review of the Declaration of Adrienne Akin, the Court finds that

  a back pay award of $3,422, plus prejudgment interest of $244.79, are reasonable.

        37.      The Court awards a total of $55,302.53 for back pay and prejudgment

     interest.

              2. Statutory Cap Should be Awarded to Claimants for Compensatory and
                 Punitive Damages

        38.      The claimants suffered substantial emotional distress because of the

  sexual harassment, retaliation and/or constructive discharge they experienced.



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        39.     A court may award compensatory damages for “future pecuniary

  losses, emotional pain, suffering, inconvenience, mental anguish, loss of

  enjoyment of life, and other non-pecuniary losses.” 42 U.S.C. §1981a(b)(3)(A). A

  claimant’s testimony alone may be sufficient to support an award of compensatory

  damages for emotional harm. Chalmers v. City of Los Angeles, 762 F.2d 753, 761

  (9th Cir. 1985) (affirming compensatory damages based upon plaintiff’s

  testimony).

        40.     The Ninth Circuit upheld awards of substantial damages based solely

  on the victim’s testimony and circumstantial evidence. Zhang v. Am. Gem.

  Seafoods, Inc., 339 F.3d 1020, 1040-41 (9th Cir. 2003) (affirming §1981 emotional

  distress damages of $223, 155 or $123,155 solely on plaintiff’s testimony about

  being hurt and humiliated by the damage to his reputation caused by

  discrimination); Passantino v. Johnson & Johnson Consumer Prods., Inc., 212

  F.3d 493, 510-14 (9th Cir. 2000) (upheld $1,000,000 compensatory emotional

  distress damages for retaliatory discharge of employee who complained of sex

  discrimination).

        41.     Punitive damages are available where the employer engaged in

  conduct with “reckless indifference to the federally protected rights of an

  aggrieved individual.” 42 U.S.C. §1981a(b)(1).




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        42.    Egregious misconduct is not required to justify punitive damages.

  Kolstad v. Am. Dental Ass’n, 527 U.S. 526, 535-36 (1999). The standard is

  whether the employer had “at least discriminate[d] in the face of a perceived risk

  that its actions will violate federal law.” Id.

        43.    The Supreme Court and the Ninth Circuit have noted that the

  “reprehensibility of the defendant’s conduct” is the most important element in

  evaluating the appropriateness of punitive damages. Arizona v. ASARCO, LLC, 773

  F.3d 1050, 1054 (9th Cir. 2014). The Ninth Circuit has reiterated that “‘intentional

  discrimination’ is a ‘serious affront to personal liberty’ and should be considered

  high on the reprehensibility scale’ for purposes of assessing punitive damages.

  Zhang, 339 F.3d at 1043 (upholding a $2.6 million punitive damages award in a

  §1981 racial discrimination case); see also Hemmings v. Tidyman’s, Inc., 285 F.3d

  1174, 1198-99 (9th Cir. 2002) (concluding that district court erred in not awarding

  punitive damages when a jury had concluded that defendant was aware of

  antidiscrimination laws and acted in the fact of this awareness).

        44.    Upon review of the declarations of the Claimants, and in light of the

  fact that Defendant’s owner was directly responsible for inflicting and condoning

  the sexual harassment, this Court finds that an award of $50,000 per claimant for

  compensatory and punitive damages is warranted, giving a total of $200,000 for

  compensatory and punitive damages. See 42 U.S.C. §1981a(b)(3)(A).

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                                 IV.    CONCLUSION

        IT IS HEREBY RECOMMENDED that Default Judgment be GRANTED in

  favor of Plaintiff EEOC and against Defendant Pacific Fun Enterprises LLC dba

  Snappers Sports Bar and Grill, dba Snap-pette Beach and Liquor Store in the total

  amount of $251,652.00 for back pay (including prejudgment interest),

  compensatory and punitive damages.

        IT IS FOUND AND SO RECOMMENDED.

        Dated: Honolulu, Hawaii, October 3, 2019.




                                   /s/ Rom A. Trader
                                   Rom A. Trader
                                   United States Magistrate Judge




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